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 Notice of Appeal Criminal                                                                 Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 22-cr-15 (APM)
                                                    )
  ELMER STEWART RHODES, III                         )


                                      NOTICE OF APPEAL


Name and address of appellant:                     United States of America




Name and address of appellant’s attorney:          Jeffrey Nestler, Assistant US Attorney
                                                   Office of the US Attorney for DC
                                                   601 D Street, NW Room 5.1501
                                                   Washington, DC 20253

Offense: 18 USC Sec. 2384; 18 USC Secs. 1512(c)(2) and 2; 18 USC Secs. 1512(c)(1) and 2

Concise statement of judgment or order, giving date, and any sentence:
     Sentence imposed on May 25, 2023 (judgment entered on the docket on June 13, 2023), sentencing
     defendant to a term of 216 months' imprisonment on each count, to run concurrently, followed by a
     term of 36 months' supervised release on each count, to run concurrently; assessment of $300.00

Name and institution where now confined, if not on bail: DC Jail/CTF


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
       July 12, 2023                                     United States of America
 DATE                                               APPELLANT
                                                            Jeffrey Nestler
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE         ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES           NO ✔
Has counsel ordered transcripts?                                YES ✔        NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES           NO ✔
